Case 2:05-cr-20091-SH|\/| Document 7 Filed 05/23/05 Page 1 of 2 Page|D 8

UNITED sTATES DISTRICT CoURT F""EB " il U'("
WESTERN DISTRICT oF TENNESSEE \
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Western Division 35 ‘ HT' 2" ‘ li 12 55

 

UNITED STATES OF AMERICA

-vs- Case No. 2:0501'20091-001]3

SIDNEY THURMAN

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT
Upon motion of the Govemment, it is ORDERED that a detention hearing is set for
MONDAY, MAY 23, 2005 at 9:30 A.M. before United States Magistrate Judge Diane K. Vescovo
in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marsha] and produced for the hearing
Date: May 18, 2005
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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

1If not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendantl 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the govemment or upon the judicial officer‘s own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or j uror.

AO 470 (B!BS) Order of.Ternporary Detention

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with Rule 55 andfor 32(13) FRCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20091 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

PDA

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US ATTORNEY'S OFFICE
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Honorable J. Breen
US DISTRICT COURT

